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Attorney for the Plaintiffs

                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


J.S. and S.S., on behalf of              Civil Action
A.S.,
                                         No. 2:22-00561-BRM-ESK
     Plaintiffs,

v.                                       CERTIFICATION IN RESPONSE TO
                                             LOCAL CIVIL RULE 41.1
WEST MORRIS REGIONAL HIGH                       DISMISSAL NOTICE
SCHOOL DISTRICT BOARD OF
EDUCATION.

     Defendant.


     David R. Giles, being of full age, states as follows:

     1.   I represent the Plaintiffs in the above-captioned

matter and in a related special education due process hearing

pending before the New Jersey Office of Administrative Law.

     2.   On February 3, 2022, on behalf of the Plaintiffs, I

filed the Verified Complaint in this matter (ECF 1).

     3.   By that Complaint, Plaintiffs appealed a decision of

an Administrative Law Judge that denied their motion to enforce

A.S.’s right to “curb to curb” transportation under the stay-put
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provision of the Individuals with Disabilities Education Act

(IDEA). 20 U.S.C. § 1415(j).

     4.     Along with the Complaint, I also filed an application

for an Order to Show Cause (ECF 1-1, and 1-4 through 1-9).

     5.     By that application, Plaintiffs seek an order

directing the Defendant to comply with IDEA’s stay-put provision

pending a final resolution of the parties’ underlying dispute

about transportation by implementing the curb to curb

transportation called for by A.S.’s current Individualized

Education Program (IEP).

     6.     A courtesy copy of Plaintiffs’ application for an

Order to Show Cause was served on the Board’s attorney, Jodi

Howlett, by email on that same day.

     7.     With Ms. Howlett’s consent, a copy of the Summons and

Complaint were served on the Defendant via United States Postal

Service Priority Mail on February 4, 2022. See ECF 5 (Return of

Service).

     8.     Since February 3, 2022, Plaintiffs have anxiously

awaited the Court’s response to their application for an Order

to Show Cause as the Defendant has continued to deny A.S. the

curb to curb transportation required by her IEP during the

pendency of their special education due process hearing

(hearings were held on June 1 and 3, 2022, and another hearing

is scheduled to be held tomorrow, June 22, 2022).
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     9.      In addition to having filed the application for an

Order to Show Cause, Plaintiffs are also filing today a request

for the Clerk to issue a default against the District for its

failure to file an answer to the Complaint.

     10.     Unless this matter is resolved by a default judgment,

Plaintiffs will seek leave to amend their application for an

Order to Show Cause because, once they receive transcripts of

the hearings that have occurred thus far in the due process

hearing, they will be able to show definitively that the term,

“curb to curb” transportation, as used in A.S.’s IEP, meant

transportation with a pick-up and drop-off in front of

Plaintiffs’ home.

     11.     As demonstrated by the above, Plaintiffs have not

failed to prosecute their claims and they intend to continue to

do so if this matter is not dismissed.

     I certify that the foregoing statements made by me are

true.     I am aware that if any of the foregoing statements made

by me are willfully false, I am subject to punishment.


Dated: June 21, 2022                  s/David R. Giles, Esq.
                                      Attorney for Plaintiffs
